     Case 1:15-cr-00028-DAD-BAM Document 71 Filed 10/17/16 Page 1 of 1


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 8                                 UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                    Case No. 1:15-cr-00028-DAD-BAM-1
12                    Plaintiff,
13         v.                                     ORDER OF RELEASE
14   VIVIAN MARIE WILLIAMS,
15                    Defendant.
16

17         The above named defendant having been sentenced on October 17, 2016 to 4 months and

18   25 days (TIME SERVED),

19         IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20   judgment and commitment order will follow.
21   IT IS SO ORDERED.
22
        Dated:    October 17, 2016
23                                                    UNITED STATES DISTRICT JUDGE

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